16-23502-shl    Doc 55     Filed 04/15/19    Entered 04/15/19 14:08:31        Main Document
                                            Pg 1 of 1


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                                         April 15, 2019
   Honorable Robert D. Drain
   United States Bankruptcy Court
   Southern District of New York
   300 Quarropas Street
   White Plains, New York 10601

   RE:    In re Patricia Rosa
          Case No.: 16-23502

   Dear Judge Drain:

   Please allow this correspondence to serve as a Status Report for the above referenced
   Debtor’s Loss Mitigation, with regards to Loan Care LLC (new servicer).

   On March 22, 2019 our office received a denial letter from McCabe, Weisberg &
   Conway, LLC by email. This denial letter was dated January 19, 2019 and the appeal
   deadline was February 19, 2019. Because our office received this letter so late, we
   requested that a new application be accepted.

   On April 15, 2019, our office submitted an updated application. I am currently awaiting
   documents from the Debtor’s daughter as a household contributor.

   If you should have any questions or concerns, please do not hesitate to contact our office.

   Thank you for your attention to this matter.

                                                  Very truly yours,


                                               /s/ Jasmine M. Rosa
                                         JASMINE M. ROSA/ Legal Assistant
                                         Law Office of Robert S. Lewis, PC
   RSL/jmr
   Cc: Patricia Rosa
   McCabe, Weisberg & Conway, LLC
